                          EXHIBIT 8
Document Type                                               Page

A. Certificate of True Copy                                 1
B. Portal Docket 20240403                                   2
C. Legacy Case Scan                                         5
D. Order for Arrest Returned Served                         10
E. Release Order                                            12
F. Release Order Modified                                   14
G. Appearance Bond                                          16




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Case 1:23-cv-00423-WO-JLW Document 94-8 Filed 04/09/24 Page 2 of 19
                                                       Wake District Court

                                                        Case Summary
                                                  Case No. 23CR702146-910


 STATE OF NORTH CAROLINA VS YOUSEF ABDALLAH                      §                       Location: Wake District Court
 JALLAL                                                          §                       Filed on: 01/12/2023
                                                                 §   Electronic Warrants Warrant 751snfM24iu33i78GZaSnP
                                                                                               ID:
                                                                 §      Criminal Process Number: OFA-23-460450
                                                                 §      Criminal Process Number: RO-23-562538
                                                                 §   Electronic Warrants Warrant 7SwMH4zcXvUPFiQACqxBih
                                                                                               ID:



                                                       Case Information

                                                                 Offense                   Case Type: Criminal
Offense                         Citation Statute        Degree               Filed Date
                                                                 Date                     Case Status: 08/11/2023 Disposed
01. SIMPLE POSSESS SCH VI       2J76159     90-95(D)    M3       01/12/2023 01/12/2023
    CS (M)                                  (4)
     Arrest
       Date: 08/10/2023
     Offense Reports
        Agency: Raleigh Police Department
                 6716 Six Forks Rd
                 Raleigh, NC, 27615

Bonds
Secured Bond -           #23B045299          $1,000.00
Professional Surety
 08/11/2023              Posted
 Counts: 01
 Bond Insurance Company: LEXINGTON NATIONAL INSURANCE CORPORATION
 PO BOX 6098
 LUTHERVILLE, MD 21094
 Bond Company: ROBERSON, RICKY
 1513 THE ARTS DR
 RALEIGH, NC 27611




                                                Assignment Information

            Current Case Assignment
            Case Number 23CR702146-910
            Court         Wake District Court
            Date Assigned 01/12/2023



                                                       Party Information

Defendant       JALLAL, YOUSEF ABDALLAH                                      ELLEDGE, PAUL DEVERE
                 1402 KINGMAN DR                                             Retained
                 KNIGHTDALE, NC 27545
                 Other
                 Male

State           STATE OF NORTH CAROLINA
                 Other

                                                           PAGE 1 OF 3                           Printed on 04/03/2024 at 2:34 PM




            Case 1:23-cv-00423-WO-JLW Document 94-8 Filed 04/09/24 Page 3 of 19
                                                    Wake District Court

                                                     Case Summary
                                                 Case No. 23CR702146-910
Complainant HALE, D
             UNKNOWN
             RALEIGH, NC 00000
Fiduciary       ROBERSON, RICKY
                 1513 THE ARTS DR
                 RALEIGH, NC 27611
Surety          LEXINGTON NATIONAL INSURANCE CORPORATION
                 PO BOX 6098
                 LUTHERVILLE, MD 21094



                                                       Case Events

03/28/2024    Pet-Exp Charges Dismissed or NG 15A-146(a and a1)                          Index # 7
                THE LEAD CASE IS 20CR732698
                Created: 04/01/2024 10:10 AM
08/11/2023                                                                               Index # 5
              Bond Posted
                Created: 08/11/2023 4:57 AM
08/10/2023    SBI Fingerprint Card
                Created: 08/14/2023 4:03 PM
08/10/2023
              Release Order Modified
                Location: WAKE COUNTY COURTHOUSE
                Crim Proc #: RO-23-562538
                Created: 08/10/2023 10:44 PM
08/10/2023    Release Order Issued                                                       Index # 4
                Location: WAKE COUNTY COURTHOUSE
                Crim Proc #: RO-23-562538
                Created: 08/10/2023 10:43 PM
08/10/2023                                                                               Index # 3
              Order for Arrest Returned Served
                Location: WAKE COUNTY COURTHOUSE
                Crim Proc #: OFA-23-460450
                Created: 08/10/2023 10:42 PM
07/03/2023    Order for Arrest Issued                                                    Index # 2
                Location: WAKE COUNTY COURTHOUSE
                Crim Proc #: OFA-23-460450
                Created: 07/03/2023 1:42 PM
06/06/2023    Called and Failed
                Created: 06/07/2023 7:41 AM
03/23/2023                                                                               Index # 1
              Legacy Complete Case Scan
                Created: 03/23/2023 12:21 PM
01/12/2023    Motion/Order to Continue
                Court Session: 2023-03-14; NIGHT COURT; TRIAL;
                Created: 01/12/2023 6:53 PM
01/12/2023    Citation Issued
                 CRRWNO:2J76159 CRRPRC:C
                 Created: 01/12/2023 12:00 AM



                                                       Dispositions


                                                        PAGE 2 OF 3        Printed on 04/03/2024 at 2:34 PM




             Case 1:23-cv-00423-WO-JLW Document 94-8 Filed 04/09/24 Page 4 of 19
                                                    Wake District Court

                                                     Case Summary
                                                Case No. 23CR702146-910
08/11/2023 Disposition
            01. SIMPLE POSSESS SCH VI CS (M)
               VD-District Dismissals w/o Leave by DA - No Plea Agreement
           Created: 08/11/2023 10:38 AM



                                                         Hearings

08/29/2023 CANCELED Electronic Warrants Assigned (2:00 PM)
             Resource: Location 910-0202 Wake Co. Justice Center, Courtroom 202
             Case Disposed
           Created: 08/10/2023 10:44 PM
08/29/2023 CANCELED Electronic Warrants Assigned (2:00 PM)
             Resource: Location 910-0203 Wake Co. Justice Center, Courtroom 203
             Release Order Updated in Electronic Warrants
           Created: 08/10/2023 10:43 PM
06/06/2023 Disposition Hearing (2:00 PM)
             Resource: Location 910-0202 Wake Co. Justice Center, Courtroom 202
             04/11/2023 Reset by Court to 04/11/2023
             04/11/2023 Reset by Court to 04/11/2023
             04/11/2023 Reset by Court to 04/11/2023
             04/11/2023 Continued to 06/06/2023 - Continued by the Court - STATE OF NORTH CAROLINA
             06/06/2023 Reset by Court to 06/06/2023
             MINUTES - 06/06/2023
                              Called and Failed
                                Created: 06/07/2023 7:41 AM
             Called & Failed;
                Called & Failed
           Created: 03/17/2023 12:12 PM
03/14/2023 Disposition Hearing (7:45 AM)
             Resource: Location 910-0101 Wake Co. Justice Center, Courtroom 101
             03/14/2023 Reset by Court to 03/14/2023
           Created: 02/10/2023 8:59 PM



                                                      Bond Settings

08/10/2023 Amended Bond Setting
           Set By           Secured Bond - Property by Defendant , Secured Bond - Cash by Accommodation , Secured Bond -
                  $1,000.00
           Clerk            Property by Accommodation , Secured Bond - Cash by Defendant , Secured Bond - Professional Surety




                                                         PAGE 3 OF 3                            Printed on 04/03/2024 at 2:34 PM




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               0




                                                                                                                                                                    File No.
                     STATE VERSUS                                                                 WAKE                          County                                               23CR702 146-910
Name Of Defendant
YOUSEF ABDALLAH JALLAL                                                         If the Order For Arrest is not served within one hundred and eighty (180) days, it must be returned to the Clerk of Court
Date of tssuance Cf Order For Arrest                                           in the county in which it was issued with the reason for the failure of service noted thereon.
                                 07/03/2023-
                                                                                               RETURN OF SERVICE
 |
     certify that the Order For Arrest issued in this case on the date noted above for the defendant named above, was received and served as follows:
Date Received,                                           Date Served                                      Time Served                                                     Date Returned

          08 lio} 2023                                        00 le {2027                                        2216
        By arresting the defendant and bringing the defendant before:
Name Of Judicial O cial



        The Order WAS NOT served for the following reason:




Signature Of Off            Re                                                                                 Name Of Officer type or print)


Oepartm      Or Agency Of Officer   -




                        oun
                                 hy     :    :
                                                                 :

                                                                                           REDELIVERY/REISSUANC                                  :
                                                                                                                                                        :
                                                                                                                                                            :
                                                                                                                                                                                :
                                                                                                                                                                                      be                   :
                                                                                                                                                                                          :



Oste                    Name Of Clerk (type or print)                                     Signature Of Clerk
                                                                                                                                                     [Joeputycse [JAssistentcsc [[] Cierk Of Superior Court
                                                 w
                                                     y               at®   2
                                                                               RETURN FOLLOWING REDELIVERY/REISSUANCE                                           &
                                                                                                                                                                          *
                                                                                                                                                                               PER                     :
 ! certify that the Order For Arrest issued in this case on the date noted above for the defendant named above, was recelved and served as follows:
Date Received                                            Date Served                                      Time Served                                                     Date Retumed



 o By arresting the defendant and bringing the defendant before:
Name Of Judicial Official



       The Order WAS NOT served for the following reason:



Signature Of Officer Making Retum                                                                              Name Of Officer (type of print)


Department Or Agency Of Officer




     AOC-CR-217 Return, Rev. 3/23
     © 2023 Administrative Office of the Courts
                                                 Case 1:23-cv-00423-WO-JLW Document 94-8 Filed 04/09/24 Page 11 of 19
                                            ee



        File No.                                                             Law Enforcement Case No,                                 L/D No.
                                                            See Attachment
                       23CR702146-910

                       ORDER FOR ARREST
#   OFA-23-460450                                                               STATE OF NORTH CAROLINA                                               in The General Court Of Justice
          THE STATE OF NORTH CAROLINA VS.                                                                                                            District      Superior Court Division
Name, Address & Telephone No. Of Defendant                                                          WAKE                            County
YOUSEF ABDALLAH JALLAL
                                                                             To any officer with authority and jurisdiction to serve an Order For Arrest:
1402 KINGMAN DR                                                              The Court finds that:
                                                                                1. FTA- RELEASE ORDER [G.S. 15A-305(b)(2)] the defendant has been arrested and released from

              KNIGHTDALE                    NC               27545                   custody and has failed on the date shown to appear as required by the Release Order.
                                                                                        This is the defendant's second or subsequent failure to appear on these charges.
                                                                              x 2. FTA- CRIMINAL SUMMONS OR CITATION (Do not use or infraction.) [G.S. 15A-305(b){3)} the defendant has failed on the date shown
                                                                                     to appear as required by a duly executed Criminal Summons or by a Citation that charged the defendant with a misdemeanor.
                                                                             (13. TRUE BILL OF INDICTMENT [G.S. 154-305(b}{1)1 a Grand Jury has retumed a true bill of indictment against the defendant, a copy of
                                                                                     which is attached. [Note To Arresting Officer: if this option is checked, defendant must be fingerprinted. G.S. 15A-502(a).]
Race                         Sox                 Date Of Birth     Age       (14. FTA- SHOW CAUSE AFTER FTC (G.S. 15A-305(b)(8)] the defendant has failed on the date shown to appear as required ina Show
                   U               M              09/24/2003                         Cause Order entered in this criminal proceeding.
Name And Address Of Defendant's Employer                                     TJs. FTA- SHOW CAUSE ORDER IN ORIGINAL CRIMINAL JUDGMENT (G.S. 15A-305(b)(8); -1362(c); -1364(a)1 the defendant has failad
                                                                                     by the date shown to pay a fine or costs or bath as required by a judgment entered in this case and has also failed, as required upon
                                                                                     such failure, to appear on that date and show cause why the defendant should not be imprisoned.
                                                                                     PROBABLE CAUSE THAT DEFENDANT MAY FAIL TO APPEAR - CRIMINAL CONTEMPT (6.8. 154-305(b)(9); 5A-16] this Court has
                                                                                     initiated plenary proceedings for contempt against the defendant under G.S. SA-16, has issued a show cause order and finds probable
                                                                                     cause to believe that the defendant will not appear as required in response to that order,
                                                                             []7. PROBATION VIOLATION [G.S. 154-305(6)(4); -1345(a)) the probation officer has provided the court with a written statement, signed by
                                                                                     the probation officer, alleging that the defendant has violated specified conditions of the defendant's probation and a copy of the written
                                                                                     statement is attached.
                                                                             (]8. Other: (specify)
Date Oofendant Faited To Appear
                              06/06/2023
Amount Of Bond                         Type Of Bond                          Notes
$                                         Official's Discretion
                                                                                                                OFFENSE(S
Count                                                                                        In Violation of                Count                                                                        In Violation of
 No.                                        Offense                                               6.5.          Code                                            Offense                                                    Code
                                                                                                                             No.                                                                               G.S.
    1        M- SIMPLE POSSESS SCH VICS (M)                                                  90-95(D)(4) 3540




              TRUE BILL OF INDICTMENT ONLY                                    You are DIRECTED to take the defendant into custody and bring the defendant before a judicial official for the purpose of:
Date Of Arrest & Check Digtt No. {as shown on fingerprint card)                    x determining conditions of release, and for commitment if the defendant is unable to comply.
                                                                                  (J) commitment since release of the defendant is not authorized.
Name Of issuing Official                                                     Signature                                                     Location Of Court                                      Court Date
B. Williams, by and through G Martinez                                                                                                     WAKE COUNTY JUSTICE CENTER                                      08/29/2023
Date Of Offense                     Date Issued                                 Magistrate       Deputy csc                    Joc suege                                                          Court Time
           01/12/2023                              07/03/2023                  Jass.csc         ]Cterk Of Superior Court.     o SC Jucge                                                               2:00 PM
    AOC-CR-217, Rev, 3/23, © 2023 Administrative Office of the Courts

                                                   Case 1:23-cv-00423-WO-JLW Document 94-8 Filed 04/09/24 Page 12 of 19
                                                                                                  File No
 STATE OF NORTH CAROLINA                                                                                        sscrr02146.910
                                                                                                   In The General Court Of Justice
                      WAKE                             County                                     District     [] Superior Court Division
                                  STATE VERSUS
Name And Address Of Defendant
YOUSEF ABDALLAH JALLAL                                                                            CONDITIONS OF RELEASE
1402 KINGMAN DR                                                                                    AND RELEASE ORDER

KNIGHTDALE                                                      NC           27545                                                                      G.S. Chapter 15A, Art. 25, 26
                                                                                             Process No.                                    Amount Of Bond
                                                                                             # RO-23-562538                                 $                   1,000.00
File Numbers And Offenses
                           :    SIMPLE POSSESS SCH VI CS (M):
23CR702146-910




    See Attachment.
Location Of Court                                                                                                                        Date              Time
0202-WAKE JUSTICE CENTER                                                                                     District       Superior     08/29/2023          2:00 PM
 To The Defendant Named Above, you are ORDERED to appear before the Court as provided above and at all subsequent continued dates.
 If you fail to appear, you will be arrested and you may be charged with the crime of willful failure to appear. You also may be arrested without a
 warrant if you violate any condition of release in this Order or in any document incorporated by reference.
 The defendant has been advised of charge(s) against him/her and his/her right to communicate with counsel and friends.
      Your release is authorized upon execution of your    WRITTEN PROMISE to appear           UNSECURED BOND in the amount shown above
          CUSTODY RELEASE x SECURED BOND inthe amount shown above NOTE:                                                                   )
          HOUSE ARREST with ELECTRONIC MONITORING administered by agency)                                                           and the SECURED
            BOND above. You may leave your residence for the purpose(s) of                        en loyment            counseling     []course of study               vocational training




       Your release is not authorized.
       The defendant is required to provide (check ail that apply)      fingerprints under G.S 15A-502        a DNA sample under G.S. 15A-266.3A.
       Prior to release the defendant shall provide his/her (check all that apply)     fingerprints.     DNA sample.
       The defendant has been          (i) charged with a felony while on probation (complete AOC-CR-272, Side One)       (ii) arrested for violation of probation
       with a pending felony charge or prior conviction requiring registration under G.S. 14, Article 27A (complete AOC-CR-272, Side Two).
       This Order is entered upon defendant's warrantless arrest for violation of conditions of release entered previously for the above-captioned case in the
       Order dated
       The defendant is charged with an offense subject to G.S. 15A-534.1, and no judge has acted under that statute within 48 hours of defendant's arrest.
       The defendant was arrested or surrendered after failing to appear as required under a prior release order.
       This was the defendant's second or subsequent failure to appear in this case.
       Your release is subject to the conditions as shown on the attached 7AOC-CR-242.               AOC-CR-270.      ]AOC-CR-630. []AOC-CR-631.
                                                                                ]AOC-cR-660.         Other:
Additional Information
15A-534 (D1)


Date                 Name Of Judicial Official                        Signature Of Judicial Official                          Magistrate       Deputy CSC      Assistant CSC
 08/10/2023          Kvle                                                                                                     Clerk Of Superior Court     DC Judge       SC Judge
                                                                       ORDEROF COMMITMENT
 To The Custodian Of The Detention Facility Named Below, you are ORDERED to receive in your custody the defendant named above who may be
 released if authorized above. If the defendant is not sooner released, you are ORDERED to:          produce him/her in Court as provided above.
 []hold him/her          []as
                           provided on the attached AOC-CR-272.              for the following purpose:

       [for charges covered by G.S. 15A-534.1 (domestic violence) or 15A-534.7 (threat of mass violence)1 produce him/her at the first session of District or Superior Court held in
       this county after the entry of this Order or, if no session is held before (enter date and time 48 hours after time of arrest)
       produce him/her before a magistrate of this county at that time to determine conditions of pretrial release.
Name Of Detention Facility                       Date                 Name Of Judicial Official                                        Signature Of Judicial Officia
Wake County Jail                                          08/10/2023         Kyle
                                                                                         (Over)
  AOC-CR-200, Rev. 2/21, © 2021 Administrative Office of the Courts
                    Case 1:23-cv-00423-WO-JLW Document 94-8 Filed 04/09/24 Page 13 of 19
                                           WRITTEN PROMISE TO APPEAR OR CUSTODY RELEASE
 |
  , the undersigned, promise to appear at all hearings, trials or otherwise as the Court may require and to abide by any restrictions set out above.

   understand and agree that this promise is effective until the entry of judgment in the District Court from which no appeal is taken or until the entry of
 judgment in Superior Court. If am released to the custody of another person, agree to be placed in that persons custody, and that person agrees by
 his/her signature to supervise me.
Date                      Signature Of Defendant                                 Signature Of Person Agreeing To Supervise Defendant

Name Of Person Agreeing To Supervise Defendant (type or print)                   Address Of Person Agreeing To Supervise Defendant


                                                            DEFENDANT RELEASED ON BAIL
Date                                       Time                                   Signature Of Custodian


                                                      CONDITIONS OF RELEASE MODIFICATIONS
The Conditions of Release on the reverse are modified as follows:
                                    Modification                                          Date                       Signature Of Judicial Official




                                                    SUPPLEMENTAL ORDERS FOR COMMITMENT
The defendant is next Ordered produced in Court as follows:
       Date           Time                        Place                        Purpose                               Signature Of Judicial Official




                                                   DEFENDANT RECEIVED BY DETENTION FACILITY
                          Date                                     Time                                        Signature Of Custodian




                                              DEFENDANT RELEASED FOR COURT APPEARANCE
                          Date                                     Time                                        Signature Of Custodian




NOTE TO CUSTODIAN: This form shall accompany the defendant to court for all appearances.
 AOC-CR-200, Side Two, Rev. 2/21
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                  Case 1:23-cv-00423-WO-JLW Document 94-8 Filed 04/09/24 Page 14 of 19
                                                                                                 File No
                                                                                                                                                                LEW
    STATE OF NORTH CAROLINA                                                                                      sce r2146-910
                                                                                                  In The General Court Of Justice
                     WAKE                           County                                     x District      o Superior Court Division
                                STATE VERSUS
Name And Adaress Of Defendant
YOUSEF ABDALLAH JALLAL                                                                           CONDITIONS OF RELEASE
1402 KINGMAN DR                                                                                   AND RELEASE ORDER

KNIGHTDALE                                                    NC             27545                                                                      G.S. Chapter 15A, Art. 25, 26
                                                                                               Process No.                                  Amount Of Band
                                                                                               #RO-23-562538                                $                    1,000.00
File Numbers And Offenses
                          <M - SIMPLE POSSESS SCH VICS (My:
23CR702 46-91 0
              1



                              oF A-FTA




      See Attachment.
Location Of Court                                                                                                                        Oate              Time
0202-WAKE JUSTICE CENTER                                                                                   XJ disinct    [Superior       9/79/2023              2:00 PM
    To The Defendant Named Above, you are ORDERED to appear before the Court as provided above and at all subsequent continued dates.
    If you fait to appear, you will be arrested and you may be charged with the crime of willful failure to appear. You also may be arrested without a
    warrant If you violate any condition of release in this Order or in any document incorporated by reference.
    The defendant has been advised of charge(s} against him/her and his/her right to communicate with counsel and friends.
         Your release is authorized upon execution of your    WRITTEN PROMISE to appear [[] UNSECURED BOND In the amount shown above
             custopy RELEASE              SECURED BOND n the amount shown above (NOTE: Give a copy of this order to eny surety who posts bond.)
             HOUSE ARREST with ELECTRONIC MONITORING administered by a                                                                  and the SECURED
            BOND above. You may feave your residence for the purpose(s) of                                              counseling                   of study       vacational training




       Your release is not authorized.
       The defendant is required to provide (check alt that apply ("fingerprints under G.S. 154-502.                       (ja
                                                                                                                DNA sample under G.S. 15A-266.3A.
       Prior to release, the defendant shall provide histher (check alt that apply) O fingerprints [)ONA sample
       The defendant has been          (i) charged with a felony while on probation (complete AOC-CR-272. Side One)    O (Il) arrested for violation of probation
       with a pending felony charge or prior conviction requiring registration under G.S. 14, Article 27A (complete AOC-CR-272, Sido Tivo).
       This Order Is entered upon defendant's warrantless arrest for violation of conditions of release entered previously for the above-captioned case in the
       Order dated
~

       Thedetéridant is charged with an offense subject to G.S 154-534.1, and no judge has acted under that statute within 48 hours of defendant's arrest.
       The defendant was arrested or surrendered after failing to appear as required under a prior release order.
       This was the defendant's second or subsequent failure to appear in this case,
       Your release is subject to the conditions as shown on the attached
                                                                                        Jaoc-cr-660.                    Other:
Additional Information
    15A-534 (D1)


Date                 Name Of Judicial Oficial                      |   Signature Cf Judicial                                x Magistrate        []Deputycse    O Assistant GSC
    08/10/2023      Kyle                                           4                                                             Clerk Of Superior         (joe Judgs, [] SC Judge
                                                                        ORDEROFCOMMITMENT
    To The Custodian Of The Detention Facllity Named Bolow, you are ORDERED to receive in your custody the defendant named above who may be
    released if authorized above. If the defendant is not sooner released, you are ORDERED to: x produce hinvher in Court as provided above.
    ohold him/her        Das provided on the attached ACC-CR-272.                     for the following purpose:

    (] fier charges covered by G.S. of this
                              154-534.1 (domestic violence) or 154-534.7 (inreat af mess          produce hinvher at the first session of District or Superior Court held in
    this county after the entry        Order cr, ifno session is held before (enter date and tne 48 hours afer time of arrest)
    produce him/her before a magistrate of this county at that time to determine conditions of pretrial release.
Name Of Detention Facility
Wake County Jail
                                                 Date                    Name Of Judicial Official                           Signature Cf Jud cial OMcigt           .
                                                         08/10/2023           Kyle
                                                                                         (Over)
     AOC-CR-200, Rev. 2/21, © 2021 Administrative Office of the Cours
                                                                                Original
             Case 1:23-cv-00423-WO-JLW Document 94-8 Filed 04/09/24 Page 15 of 19
                                                         WRITTEN PROMISE TO APPEAR OR CUSTODY RELEASE                                                         &


       the undersigned promise to appear at all hearings, tdals or otherwise as the Court may require and to abide by any restrictions set out above
     | understand and agree that this promise is effective unlil the entry of judgment in the District Court from which no appeal is taken or until the entry of
     judgment in Superior Court. If am released to the custody of another person, agree to be placed in that person's custady, and that person agrees by
                                                                                      |



     his/her signature to supervise me.
Date                                Signature Of Dafencart                           Signature Of Person Agreeing To Supervise Defendant

Name Of Person Agreeing To Supervise Defendant (type or print)                       Address Of Person Agreeing To Supervise Defendant


                                                                        DEFENDANT RELEASED ON BAIL                                         rs



                                                                                     Sinsre OL£us
                                  22
Date                                                     Time
                              Z
                                                                   O/YO
                                                                   CONDITIONS OF RELEASE MODIFICATIONS
                                                                                                                                     :
                                                                                                                                 :

                                            :


The Conditions of Reiease on the reverse are modified as follows:
                                                    Modification                              Date                       Signature Of Judicial Officiat




                              =
 €                  : 4   :
                                                                   SUPP EMENTA ORDERS FOR COMM TMENT                                 9                    :




 The defendant is next Ordered produced in Court as follows:
           Date                   Time                          Place               Purpose                              Signature Of Judicial Official




                                                                DEFENDANT RECEIVED BY DETENTION FACILITY
                                    Date                                     Time                                  Signature Of Custodian
                                    83




                                                            DEFENDANT RELEASED FOR COURT APPEARANCE
                                                                                                                                                                  :

                                                a




                                     Date                                    Time                                  Signature Of Custodian




 NOTE TO CUSTODIAN:: This form shal! accompanyy the defendant to court for all appearances.
  AOC-CR-200 Side Two Rev. 221
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                                                                               Original
                   Case 1:23-cv-00423-WO-JLW Document 94-8 Filed 04/09/24 Page 16 of 19
 The face of this document has micropninting and VOID" when copied Paper
 has a printed watermark. invisible fibers and coin reactive authentication
                                                                                                                                              2023-BB-01535?
                                                                    POWER OF ATTORNEY
 Only the Original Power of Attomey will
 bind this surety                                        LEXINGTON NATIONAL INSURANCE CORPORATION
                                                                    P.O. Box 6098, Lutherville, Maryland 21094              410-625-0800
                                                                                                                                                              Power No, 2023 6B
                                                                                                                                                              THIS POWER OF ATTORNEY NULL AND
                                                                                                                                                                                                       015357
                                                                                                                                                                                                  UNLESS USED BEFORE 1/1/24

                                                                                        info@lexingtonnational.com
KNOW ALL MEN BY THESE PRESENTS, that LEXINGTON NATIONAL INSURANCE CORPORATION. a corporation duly organized and existing under the laws of the State of Florida, hereby constitutes and
appoints. subject to any General Qualifying Power of Attorney or other legal prerequisite. as its true and lawful attomey-in-fact the person signing below as Attorney-in-Fact, with full power and authority to sign
the Companys name and affix its corporate seal to. and deliver on its behalf as surety. any and all obligations as herein provided. and the execution of such obligations in pursuance of these presents shall be a3
binding upon the Company as fully and to ail intents and purposes as if done by the regularly elected officers of the Company at its home office in their own proper person; and the Company hereby ratifies and
confirms all and whatsoever its attorney-in-fact may lawfully do and perform in the premises by virtue of these presents.

THE OBLIGATION OF THE COMPANY SHALL NOT EXCEED THE SUM OF ELEVEN THOUSAND DOLLARS(11,066.97) THIS POWER OF ATTORNEY IS VOID IF
ALTERED OR ERASED, VOID IF USED TO FURNISH BAIL ON THE SUBJECT BOND IN EXCESS OF THE STATED MAXIMUM AMOUNT OF THIS POWER AND VOID IF USED
WITH OTHER POWERS OF THIS COMPANY OR OTHER POWERS OF OTHER COMPANIES TO MAKE BAIL ON THE SUBJECT BOND. EACH POWER OF ATTORNEY CAN
ONLY BE USED ONCE AND MAY BE EXECUTED ONLY FOR RECOGNIZANCE ON CRIMINAL a      BONDS.
                                                                                                                                         IN WITNESS WHEREOF, LEXINGTON NATIONAL INSURANCE CORPORATION.
                                                                                            WOT VALID FOR IMMIGRATION BONDS
Bond Amount $                                                                                                                            by virtue of authority conferred by its Board of Directors. has caused these presents
                                                                                                                                         to be sealed with     corporate seal, signed by as Preastent and attested byits
                                                                                            Haq /                                        Secretary on April 9, 1996


First Court Date

                                                                                                                             $25
Court:                                                                              County/City:

Offense(s):                                                                                                                                       :                   MBs   esis
                                                                                                                                                                                       ::                            :
                                                                                                                                          :

      of                                                        Court Assigned Ages,                                                                                                   :
                                                                                                                                                                                                           consrued to
                                                                                                                                              :                :                   :

Attomey-in-Fact
                          Case 1:23-cv-00423-WO-JLW Document 94-8 Filed 04/09/24 Page 17 of 19
                                                                                                       Fue VU.
  STATE OF NORTH CAROLINA                                                                                                    a/               ti
                                                         County                                      istrict     CJ Superior Court Division
 Name And Mailing Address Of Defendant


                                                     Ta lly!                         APPEARANCE BOND
                                                                                           FOR
                                                                            SMC 27 by RETRIAL RELEASE
 Telephone No. Of Defendant

       Bond Required                              Amot   Of This Bond
                                                                                                                                                       G.S. 15A-531, 154-534, 154-544.2
 Ofenses And Additional Fite Numbers




                                                                                                                                                                            See Attachment
     Unsecured Appearance Bond - , the undersigned defendant, acknowledge that my personal representatives and are bound to pay the State of North
                                              |                                                                                                    |


    Carolina the sum shown above, subject to the conditions of this Bond stated on the reverse side.
    Cash Appearance Bond By Defendant (See note on reverse side.)) , the undersigned defendant, acknowledge that am bound to pay the State of
                                                                                        -
                                                                                            |                                                            |

    North Carolina the sum shown above, and hereby deposit the cash identified below as security with the understanding that the deposit will be retumed
    upon the Court's determination that the conditions of release have been performed, subject to the conditions of this Bond stated on the reverse side, and.
    that it wil be available to satisfy my obligations.
    Defendant's Property Appearance Bond , the undersigned defendant, acknowledge that am bound to pay the State of North Carotina the sum
                                                         - |
                                                                                                                         |

    shown above, subject to the conditions of this Bond stated on the reverse side, and as security for said Bond have executed a mortgage or deed of trust
     o real or personal property, payable to the State of North Carol ina and with power of sale conditioned upon the breach of any condition of this Bond
    Surety Appearance Bond We, the undersigned, jointly and severally acknowledge that we and our personal representatives are bound to pay the State
                                   -



    of North Carolina the sum shown above, subject to the conditions of this Bond stated on the reverse side. Any undersigned professional bondsman, bail
    agent, or runner attests that the AFFIDAVIT on the reverse side is complete and true. If a cash deposit is indicated below, surety{ies) has deposited the
    cash to secure the obligation as surety(ies) on this bond with the understanding that the deposit will be retumed to the surety( es) upon termination of that
    obligation as provided by law, and that it will NOT be available to satisfy defendant's obligations. (For cash bond, see note on reverse side.)

Date Of Execution Of Sond                                                                                   Of Defen
                                                                                                Signature
                                                         a          AC       MiMODATION BONDSMAN                                                                        :


    See attached AOC-CR-201A for additional accommodation borkismen executing this bond.
Name And Address Of Accommodation Bondsman                                                      Name And Address Of Accommodation Bondsman
Ricky Roberson
1513 The Arts Drive
Raleigh, North Carolina 27603

Telephone Na                                                                                    Telephone Na.
                                  919-271-8982
                                                                      PROFESSIONAL BONDSMAN                                  _
                                                                                                                                 Fes                                                  peeve
Name Of Bondsman                                                                                Name Of Runner, if Applicable


License No. Of Bondsman                ;
                                                  Telephone No.                                 License No. Of Runner                              Telephone No.


                                                                        _   INSURANCE COMPANY                        _
                                                                                                                                                                                         5

Name Of insurance Company     .                                                                 Name Of Ball Agent
 Lexington National Insurance Company                                                            Ricky Roberson
Power OFAppointment No. Of Bail Agent                                                           Ucense No. Of BailAgent                            Telephone Na.
                                           10004566                                                              10004566
                                                                                     SIGNATURE
Signature Of Surety                                                                             Signature Of


 SWORN/AFFIRMED AND SUBSCRIBED TO BEFORE ME                                                      SWORN/AFFIRMED AND SUBSCRIBED TO BEFORE ME
Date                               Signature                                                    Date                                   Signature
                                                                                                                 f     23
    magistrate   []Oeputycsc (JAssistantcsc
    Custodian Of Detention Facility [G.S.
                                                                    Clerk OF Suportor Court          Magistrate      0Depuycse
                                                                                                     Custooian Of Detention
                                                                                                                                             Assistant CSC
                                                                                                                                            154-637
                                                                                                                                                                    Cferie Of Superior Court



                                                                   COMPLETE IF CASH DEPOSITED                                                                                   we
Signature Of Official Accepting Cash                                         Name Of Official Accepting Cash (type or print)                                   Receipt No

NOTE: a cash deposited, see note on reverse side.
                                                  (see AOC-CR-238 if release          Original File
                                                                                                 -


  AOC-CR-201, Rev. 4/18                           after judgment in superio court}          (Over)
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                                                                                  CONDITIONS
The conditions of this Bond are that the above named defendant shall appear in the above entitled action(s) whenever required. it iis agreed and understood
that this Bond is effective and binding upon the defendant and each surety throughout all stages of the proceedings in the trial divisions of the General Court
of Justice until the entry of jjudgment in the district court from which no appea is taken or until the entry of jjudgment in the superior court, unless terminated
earlier by operation of law or order of the court. If the defendant appears as ordered until termination of the Bond, then the bond is to be void, but if the
defendant fails to appear as required, the Court will forfeit the bond pursuant to Part 2 of Article 26 of Chapter 15A of the General Statutes.
Each accommodation bondsman, by signing on the                or on the attached AOC-CR-201A, states: "| have reached the age of 18 years and am a bona
fide     resident              Aside from love and affection and release of the above named defendant, have received no consideration for acting as
                                                                                                                             |




surety. own sufficient property over and above all Kabilities, homestead and other exemptions allowed me by law to enable me to pay this Bond should it
be ordered} forfeited. understand that if! sign this Bond without sufficient property, am guilty of a crime
                          |                                                                        |




                                                                          AFFIDAVIT               :                ot #                                y
                                                                                                                                                2. Sof

NOTE: 'Professional bondsmen, surety     bondsmen               and runners shell file with the clerk of court having jurisdiction over the principal an affidavit on a form furnished
      by tho Administrative Office of tho Courte.' G.&. 58 71 140(d). Cheok all options that apply.
    1.   |   have not, nor has anyone for my use, ben promised or received any collateral, security or    for executing this Bond
    2.   |   have been promised a premium in the amount shown below, which is due on the date shown below
    3.       have received a premium in the amount shown below.
    4.       have been given collateral security by the person named below, of the nature and in the amount shown below.
Amount Of Premium Promised                               Date Due                                                                 Amount Of Premium Received


Name Of Person From Whom Collateral Received             Nature
                                                            Of
                                                                       &/                                                         3/00 Lu
                                                                                                                                             04 \Vaue




                                                                         AFFIX STAMP OR
                                                                       POWER OF ATTORNEY
                                                                              HERE

                                                    RETURN OF CUSTODIAN OF DETENTION FACILITY
The cefendant nam             on                              FamTmy ¢custody on1 the date Shown below                                  of
                                         Name Of              (type or print)                                                                            Shentt            Daputy Sheri
                                                                                                                                                          Other
NOTES ON CASH BONDS:
(1) To Official Taking The Bond. Use this form for ail cash bonds. Complete thi form as follows:
    When Cash Deposited By Defendant Or By Another Person Who intends For The Cash To Be Used To Satisfy The Defendant's Obligations
    Enter defendant's name address and telephone number at the top of Side One. Check "Cash Apearance Bond By Defendant.Have defndant sign
    Do no more. No other person's      should appear on this form. Enter your name, sign and enter receipt number under "Complete if Cash Deposited.
    Make receipt out to DEFENDANT, not to any other person.
         When Cash Deposited By Another Person Who Does NOT ntend For The Cash To Be Used To Satisfy The Defendant's Obligations.
         Enter defendant's name, address and telephone number at the top of Side One. Check "Surety Appearance Bond. Have defendant sign. Enter name,
         address and telephone number of person depositing ca under Accommodation Bondsman." Have that person sign under "Signature Of Surety.
         Complete                 that person. Enter your name,                                             If               Make receipt out ta person


 (2) To Bookeeper. if case disposed without forfeiture, disburse cash as follows: (1) if "Cash Appearance Bond By Defendant" checked on Side One
     disburse to defendant or apply to defendant's obligations if court so orders. (2) If "Surety Appearance Bond" is checked on Side One, disburse only to
     the person(s) named under Accommodation Bondsman

 (3) Bond By insurance Company Or Professional Bondsman As Surety Is Same As Cash Except in Child Support. G.S. 154-531(4) provides that
     an appearance bond executed b an insurance company or a professional bondsman (or a bail agent or runner on behalf of one of those sureties) is
     considered the same   a cash deposit, except in child support contempt proceedings for which only cash may satisfy a cash bond requirement.




    AOC-CR-20, Side Two, Rev. 418
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